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       THE UNITED STATES DISTRICT COURT
         MIDDLE DISTRICT OF FLORIDA
             TAMPA DIVISION

Teresa M. Gaffney,
 Individually,                             Case No.:
Sarah K. Sussman,                        CIVIL RIGHTS COMPLAINT
Individually, and as,
Trustee of the                               42 U.S.C. 1983, 1985
Sussman Family Trust,                        Fifth and Fourteenth
Plaintiffs                                   Amendments;
vs.
                                            Florida Constitution:
                                            Article I, section 9,
                                            Article X, section 4
                                            Fla.Stat. 817.535
                                            Common Law Claims
                                            Trial by Jury Requested

Chad Chronister, in his individual and official capacity as Sheriff of
HCSO; Hillsborough County Sheriff’s Office (HCSO); Jason
Gardillo, in his individual capacity and in his official
capacity as an agent/employee of HCSO;
Deputy Jonathan Carlton, individually and as an agent, employee of
HCSO; Corporal Gary Harris, individually and as an agent,
employee of HCSO;
Phillip A. Baumann, in his individual capacity, as the putative
administrator ad litem and as a Partner in Baumann/Kangas Estate
Law;
Michael Ryan Kangas, in his individual capacity and as a Partner in
Baumann/Kangas Estate Law;
Baumann/Kangas Estate Law,

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Defendants.
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Note: Attorney Sussman has a limited role due to severe health issues.




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                                  COMPLAINT

NOW COMES, Teresa M. Gaffney, Individually, Sarah K. Sussman, Individually,

and Sarah K. Sussman as Trustee of the Sussman Family Trust, by and through

their undersigned attorneys and files these claims as to Jason Gordillo, in his

individual capacity and as an agent, servant and employee of Hillsborough County

Sheriff’s Office (HCSO); Deputy Jonathan Carlton, individually and as an agent,

employee of HCSO; Corporal Gary Harris, individually and as an agent, employee

of HCSO; Sheriff Chad Chronister, in his official capacity as Sheriff of HCSO;

Hillsborough County Sheriff’s Office (HCSO); HCSO; Phillip A. Baumann, in his

individual capacity, as the putative administrator ad litem and as a Partner in

Baumann/Kangas Estate Law; Michael Ryan Kangas, in his individual capacity

and as a Partner in Baumann/Kangas Estate Law; and Baumann/Kangas Estate

Law.

The Plaintiffs request Trial by Jury on all counts in which Trial by Jury is

available.




                JURISDICTION AND VENUE




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  1. This is an action for injunctive relief and damages pursuant to 42 U.S.C.,

     sections 1983, 1985 based upon the continuing violations of Plaintiffs’ rights

     under the Fifth and Fourteenth Amendments to the United States

     Constitution. Jurisdiction exists pursuant to 28 U.S.C., sections 1331 and

     1343, based upon 42 U.S.C., section 1983, 42 U.S.C., section 1985 and

     questions of federal constitutional law. Jurisdiction also exists under the

     Declaratory Judgment Act, 28 U.S.C., sections 2201(a) and 2202.

     Supplemental jurisdiction over Plaintiffs’ state law claims is pursuant to 28

     U.S.C., section 1367.

  2. Venue is proper in the Middle District of Florida, [Tampa Division], in that

     the events and conduct complained of herein all occurred in the Middle

     District of Florida, [Tampa Division]. Damages are in excess of One Million

     Dollars ($1,000,000.00).

                                The Parties

  3. The Plaintiff, Teresa M. Gaffney is a resident of Hillsborough County,

     Florida. The Plaintiff, Sarah K. Sussman is a legal resident of Hillsborough

     County, Florida; The Plaintiff, The Sussman Family Trust is a Florida Trust

     whose Trustee, is Sarah K. Sussman; The Sussman Family Trust is a trust

     formed under the Laws of the State of Florida.




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  4. The Defendants are: Jason Gordillo, in his individual capacity and as an

     agent, servant and employee of Hillsborough County Sheriff’s Office

     (HCSO); Deputy Jonathan Carlton, individually and as an agent, employee of

     HCSO; Corporal Gary Harris, individually and as an agent, employee of

     HCSO; Sheriff Chad Chronister, in his official capacity as Sheriff of HCSO;

     Hillsborough County Sheriff’s Office (HCSO); Phillip A. Baumann, in his

     individual capacity, as the putative administrator ad litem and as a Partner in

     Baumann/Kangas Estate Law; Michael Ryan Kangas, in his individual

     capacity and as a Partner in Baumann/Kangas Estate Law; and

     Baumann/Kangas Estate Law.

                    STATEMENT OF FACTS

  5. The underlying litigation evolves from an action filed approximately one year

     beyond the Statute of Limitation in the Circuit Court in and for Hillsborough

     County and otherwise referenced as Case No.: 14-CA-3762. (hereinafter

     referenced as, “3762”). The Plaintiffs in this matter, (Defendants below),

     uncovered the theft of approximately $1,000,000.00 from the Estate of John

     J, Gaffney. The theft of assets, which was documented, was the work of the

     Defendant Phillip A. Baumann, Defendant Michael Ryan Kangas and

     Defendant Baumann/Kangas Estate Law, and such misconduct was brought

     to the attention of the Court.


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  6. The listed Defendants, in this action, acting in collusion, have statutory

     liability as well as common law, (state claims), liability for the actions and

     transgressions set forth in this complaint. Defendant Jason Gordillo,

     Defendant Sheriff Chad Chronister, Defendant HCSO; Defendant Deputy

     Jonathan Carlton, Defendant Corporal Gary Harris, Defendant Phillip A.

     Baumann,      Defendant      Michael     Ryan    Kangas,     and     Defendant

     Baumann/Kangas Estate Law, together with additional and currently

     unknown/unnamed personnel, conspired, combined and colluded to deprive

     the Plaintiffs of their property, their reputation and their Federal and State

     Constitutional rights under color of law in contravention of the 5th and 14th

     Amendments to the U.S. Constitution and of those rights enumerated under

     the Florida Constitution, including but not limited to: Article I, section 9 and

     Article X, section 4.

  7. At all times relevant the Defendants caused, as to the Plaintiffs a deprivation

     of rights and privileges secured by the Constitution and laws of the United

     States of America as well as the Constitution and laws of the State of Florida,

     as applicable to the Plaintiffs.

  8. At all times relevant the acts complained of in this complaint were caused by

     the Defendants under color of law.


  9. The undisputed facts are that on October 25, 2017 the Plaintiffs were


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     unlawfully evicted from the Homestead Property belonging to the Plaintiffs

     in violation of Article I section 9 of the Florida Constitution and Article X

     Section 4 of the Florida Constitution as well as the provisions of HCHRO.

     The Plaintiffs were further denied the protections afforded them under the 5th

     and 14th Amendments to the United States Constitution, under color of law,

     as part of the collusive conduct of the parties named as Defendants herein.


  10.The unlawful eviction arose from a lawsuit filed in the state court after the

     expiration of the statute of limitations; the state court never had Subject

     Matter Jurisdiction and the state court filers lacked standing. To achieve this

     goal, the Defendants colluded, conspired and combined to bring about their

     unlawful purpose and took the necessary steps to perfect their conspiracy.

     Having utilized an unlawful means to effectuate an unlawful goal the

     Defendants confiscated the property of the Plaintiffs; the Defendants then

     conspired, combined and colluded to obtain attorney fees and costs against

     Teresa Gaffney and Sarah Sussman on a flawed judgment in a case which the

     Court and Michael Ryan Kangas, counsel for the administrator ad litem, i.e.,

     Baumann, described as “dead on arrival”, i.e., meritless. The collusive and

     conspiratorial actions taken by the Defendants, individually and as a

     collective body, were taken in furtherance of a conspiracy to seize valuable

     property from the Plaintiffs. There was no jurisdictional ambit of authority


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     for the actions set forth in this complaint. The actions were taken under color

     of law so that the Defendants, individually and collectively, could

     successfully defraud the Plaintiffs and punish the Plaintiffs for exposing the

     theft of property by Defendant Phillip A. Baumann, Defendant Michael Ryan

     Kangas and Defendant Baumann/Kangas Estate Law and other related acts

     effectuated in contravention of the law and which acts were set in motion

     under color of law.

  11.Without a hearing and/or opportunity to be heard, the Defendants unlawfully

     seized and expropriated the Homestead Property and personal property of the

     Plaintiffs. The Defendants in furtherance of the conspiracy to defraud, seize

     and expropriate the Homestead Property/Residence of the Plaintiffs,

     collectively, granted relief in the clear absence of jurisdiction, which relief

     was not sought in any pleadings knowing that such relief was in contravention

     of the Florida Constitution, Florida Statutes, Florida caselaw, the U.S.

     Constitution, the U.S. Code and Federal cases involving the Florida

     Homestead exemption, (Article X, section 4), Advisory opinions that have

     been sought by the 11th Circuit Court of Appeals from the Florida Supreme

     Court. The legal research performed by the Plaintiffs covering approximately

     150 years of jurisprudence has failed to disclose any case(s) supporting the

     actions taken by the Defendants to confiscate and expropriate the Homestead


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     Property/Residence belonging to the Plaintiffs.


  12. The Court, in concert with the other Defendants, as well as presently

     unnamed Defendants, by its own admission, took the Homestead Property as

     a sanction in violation of Article X Section 4 of the Florida Constitution. There

     was no legal or constitutional authority or statutory authority for this

     tyrannical act; there was simply the collusion of the named Defendants to

     seize the Homestead Property/Residence of the Plaintiffs for the personal

     aggrandizement of the Defendants. This act of expropriation was effectuated

     by the Defendants in the clear absence of any jurisdictional basis.


  13. Defendant Kangas also admitted that the underlying state court lawsuit was

     “dead on arrival”, i.e., meritless filing the lawsuit (3762) without due process

     of law. Defendant Kangas on a Probate Court Order, alleged to exist by

     Defendant Michael Ryan Kangas, Defendant Phillip A. Baumann, and

     Defendant Baumann/Kangas Estate Law, which Probate Order does not exist.

     Defendant Phillip A. Baumann admitted under oath that the alleged Probate

     Order does not exist. Defendant Kangas is aware that the alleged Probate

     Order does not exist. Defendant Kangas has prevented the use of discovery to

     compel the proponents of the mythical order to produce same. In obstructing

     discovery calculated to disclose the non-existence of the mythical order,

     Defendant Kangas and Defendant Baumann have perverted the ends of justice

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      and has acted in furtherance of the conspiracy of the Defendants to confiscate

      the Homestead Property/Residence of the Plaintiffs. See Exhibit “1”,

      Affidavit of Sheldon McMullen.

   14.The manufactured evidence includes, but is not limited to, the acceptance of

      false testimony under oath, which evidence was known to be false, the

      allowance of perjured testimony and disregard for the textual interpretation

      of the Constitution of the United States, the Constitution of the State of

      Florida and the Statutes of the State of Florida.

   15.In addition to the misconduct discussed in this complaint, which misconduct

      is attributable to the Defendants, in their collusive and conspiratorial plan to

      disregard dispositive evidence, exculpatory in nature, to wit: reports,

      affidavits, testimony, et cetera, that should have been utilized by the

      Defendants.

    16.As a proximate and direct result of the numerous instances of documented

       misconduct the Plaintiffs have suffered egregious losses, will continue to

       suffer egregious losses, have been subjected to a meritless award of attorney

       fees and have suffered the loss of Homestead Property, personal property,

       chattels and other items associated with the family. The Plaintiffs have been

       defamed and such defamatory practices have been engaged in by the

       Defendants in conscious and deliberate disregard for the truth, with the


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       requisite scienter as to falsity of their calumny. But for the misconduct of

       the Defendants the devastation visited upon the Plaintiffs would not have

       occurred. Moreover, as set forth in the succeeding counts of this complaint

       there exist further and sundry damages attributable to the Defendants which

       damages are proximately and directly caused by the conduct of the

       Defendants in furtherance of their conspiracy to deprive the Plaintiffs of

       their Constitutionally protected rights and in contravention of those rights

       and privileges afforded to the Plaintiffs.

    17. At all times relevant the Defendants were, individually and collectively, on

       notice as to the multiple instances of malfeasance attributable to each of the

       Defendants. At no time did any of the Defendants take action to enforce the

       law and thereby impede the violations occasioned by the actions complained

       of in this Complaint.

   18.The Defendants at all times, individually and collectively lacked any basis to

      proceed against the Plaintiffs in the underlying action, i.e. 3762, or any of its

      progeny.

   19.The Defendants at all times relevant lacked any basis to proceed against the

      Plaintiffs or in Bankruptcy Court or any adversarial proceeding in

      Bankruptcy court.




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   20.The Defendants at all times, individually and collectively lacked any basis to

      proceed against the Plaintiffs in the state appellate process or eviction

      proceedings with HCSO.

   21.Defendant Michael Ryan Kangas stated under oath

             The order authorizing Mr. Baumann, was on a
             petition to appoint an Administrator Ad Litem for the
              sole purpose of bringing a lawsuit against the

             [Plaintiffs].

   22. No such Order exists. The Order stated that

                   The purpose of the asset recovery suit, and
                 the reason an Administrator Ad Litem was appointed

                  in this case, is to seek recovery of estate assets


                  to be administered in the probate case.

   23. Black Letter law establishes that an inter vivos deed is not an asset of the

      estate and the property owned by the Plaintiffs passed outside of the Estate of

      John J. Gaffney.

   24.The Defendants at all times relevant lacked any basis in law and fact to

      proceed against the Plaintiffs in the underlying proceeding(s), i.e., 3762, and

      acted in the clear absence of jurisdiction. See Exhibit “2”, Affidavit of

      Steven Bellavigna.




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   25.On 16 October 2017 the Court in 3762 entered a Final Judgment without a

      hearing, without any findings of fact and without any basis in law or fact.

      Based on the admissions by Defendant Michael Ryan Kangas that the case

      was meritless and dead-on arrival, the Order was entered without any

      jurisdictional basis and in the clear absence of all jurisdiction.

   26.A writ of possession was entered by the Court in 3762 to seize the

      Homestead Property in contravention of Article X Section 4 of the Florida

      Constitution.

   27.Plaintiff Sussman filed for Bankruptcy and her Homestead Property was

      subject to the Automatic Stay.

   28.In violation of the Automatic Stay, HCSO enforced the Writ taking the

      Homestead Property; personal property of the Plaintiffs and caused the death

      of three pets.

   29.The HCSO failed to provide any training materials or training courses to in

      house counsel relative to eviction proceedings.

   30.The in-house counsel for HCSO, Defendant Gordillo, lacked, by his own

      admission in sworn testimony, any knowledge, training or experience relative

      to his position with HCSO regarding evictions and the effect of taking

      Homestead Property.




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   31.Defendant Gordillo admitted that he never reviewed the final order and could

      not identify and/or distinguish a motion to dismiss from a final order.

   32.Defendant Gordillo testified that he was unfamiliar with the following

      concepts: final judgment, procedural motions or the Florida Constitution, i.e.,

      Article X, section 4 (Homestead Exemption) and could not apply such

      concepts to facts before him.

   33.The HCSO invaded the privacy of the Plaintiffs by failing to determine if the

      automatic stay was in place as to the Homestead Property.

   34.Execution by a creditor, even a putative creditor, is not permitted under the

      Florida Constitution and is in contravention of Article X, section 4; execution

      by a creditor, even a putative creditor, is constitutionally invalid and

      offensive.

   35. Further, the Order of 16 October 2017 unlawfully invalidated the deed

      transferring the Homestead Property to Plaintiff Sussman without jurisdiction

      and in the clear absence of jurisdiction and unlawfully accuses the Plaintiffs

      of exploitation of John J. Gaffney, without any evidence, and in disregard of

      the evidence submitted to the contrary.

   36.The invalidation of the deed would have required a hearing; there was no

      hearing. The Defendants ran this scam sub rosa.




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   37. The Order of 16 October 2017 did not invalidate the deed between John J.

      Gaffney and Plaintiff Gaffney because there was no basis in law and fact.

      The invalidation of the deed could not have been done because the statute of

      limitations had run, and the Homestead Property purchased by Plaintiff

      Gaffney was never an asset of the Estate of John J. Gaffney.

   38.HCSO evicted the family of the Plaintiffs from the Homestead Property and

      unlawfully detained the family member(s) residing in the Homestead

      Property.

   39.Kangas/Baumann individually collectively and on behalf of their law firm

      conceived organized and implemented the above actions with the help, aid,

      knowledge and assistance of the co-defendants.

   40. Knowing that the deed between John J. Gaffney and Plaintiff Gaffney was

      still valid, the Defendants unlawfully took the Homestead Property.

   41.At all times relevant, the Homestead Property was and is owned by Sarah K.

      Sussman, Trustee of the Sussman Family Trust.

   42.Execution by a creditor, even a putative creditor, is not permitted under the

      Florida Constitution as to Homestead Property.

   43.The Defendant HCSO forcibly and unlawfully evicted the family of the

      Plaintiffs from the Homestead Property and unlawfully detained the family

      members residing in the Homestead Property.


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   44.In doing so the Defendant HCSO, its agents, servants and employees,

        subjected the family members of the residential property to false arrest.

   45.Defendant Phillip A. Baumann and Defendant Michael Ryan Kangas

        individually collectively and on behalf of their law firm, Defendant

        Baumann/Kangas Estate Law, conceived organized and implemented the

        above actions with the help, aid, knowledge and assistance of the co-

        defendants.

   46.The eviction was effected by Deputies of the Hillsborough County Sheriff’s

        Office, (hereinafter collectively referenced as, “HCSO), under the

        instructions of Defendant Michael Kangas and Defendant Phillip Baumann.




                   FIRST CAUSE OF ACTION:
                   DECLARATORY JUDGMENT

   I.       Nature of the First Cause of Action:

   47. The Plaintiffs incorporate by reference, as if more fully set forth herein,

        Paragraphs 1-2, Jurisdiction and Venue, Paragraphs 3-4, Parties, Paragraphs

        5-46, Statement of Facts, as set forth in the Complaint.

   48.This is an action seeking Declaratory Relief pursuant to 28 U.S.C. sections

        2201 and 2202. The Plaintiffs seek relief by way of a declaration that they

        have no liability, nor can such liability arise, in contravention of Article X,



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      section 4 of the Florida Constitution, (Homestead Exemption), which would

      allow a trial court to accept an alleged, but un-proven putative creditor claim,

      as a basis to confiscate the Homestead Property of the Plaintiff in satisfaction

      of a non-existent and un-proven claim.

   49.The subject property was at all times relevant Homestead Property, subject to

      the protections afforded Homestead Property as set forth at Article X, section

      4 of the Florida Constitution. The Defendants at all times relevant conspired

      to confiscate the property and did so by way of an unlawful order issued by

      the Court in 3762 in furtherance of his, and his co-defendants goal of

      violating the civil rights of the Plaintiffs. See Exhibit “3”, Homestead

      Declaration.

   50.The Homestead Property is located in Hillsborough County, Florida and

      more fully described as:

   ALL of Lot 30 and the South 31 Feed of Lot 29 of
   KENTEL PARK SUBDIVISION, as per the recordation
   In Plat Book 12 on Page 665 of the Public Records of
   Hillsborough County, Florida.
   The address is 119 South Clark Avenue,
   Tampa, Florida 33609

   51.On or about 4 April 2014, the Defendants conspired to utilize an order of the

      Probate Court which order was false and was known by the Defendants to be

      false.




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   52.The false order was utilized by the Defendants to empower third parties to

      evict the family in residence at the Homestead Property. The family was

      allowed 15 minutes to depart.

   53.At the time of the unlawful eviction the property was classified as Homestead

      Property, The Property was classified as such from its construction in

      approximately 1971 and is so classified presently.

   54.Neither the Defendants or their agents at any time held any right, title or

      interest in the subject property.

   55.There is no caselaw extant in the State of Florida which would permit the

      taking of Homestead Property by a non-creditor under these facts.

   56.The Court in 3762 stated that he caused the Homestead Property to be

      confiscated because the present Plaintiff Teresa Gaffney had violated his

      discovery order. In short, Defendants confiscated the Homestead Property of

      one of the present Plaintiffs as a sanction against a second present Plaintiff.

      The Florida Constitution does not permit the taking of Homestead Property

      as a sanction. There were no orders issued by the Court in 3762 relative to

      Teresa Gaffney as to discovery.

   57.In furtherance of the concerted action of expropriation of Homestead

      Property the Defendants, as set forth in paragraphs 5-46, conspired in the

      expropriation of Homestead property and having admitted that the underlying


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      claim was “dead on arrival”, (i.e., meritless), Defendant Michael Ryan

      Kangas, Defendant Phillip A. Baumann and Defendant Baumann/Kangas

      Estate Law caused to be awarded against the Plaintiffs a significant sum in

      the form of attorney fees which amounts to a disguised act of theft/extortion.

   58.This Cause of Action is part of an action brought pursuant to 42 USC 1983,

      1985 and which takes up several additional causes of action brought under

      the Florida Constitution and Florida Law.

   59.It is established law, Constitutionally and case made, that Homestead

      Property cannot be seized and/or levied against except under three

      Constitutional exceptions to the Homestead Exemption. None of the three

      exceptions to the Homestead exemption are applicable in this matter.

   60.Testimony offered by a witness in the lower proceeding, i.e., 3762,

      unequivocally stated that the subject real property was Homestead Property.

      This statement was unchallenged by the presiding Defendants and/or adverse

      counsel. No testimony was offered by Defendant Michael Ryan Kangas in

      opposition to the referenced testimony. Defendant Michael Ryan Kangas

      cited this evidentiary submission in its pleadings without contrary argument.

   61. A Notice of Homestead was filed and served as to the subject property by

      the holder/declarer of Homestead Status of the property confiscated.




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   62.No response or challenge to the Declaration of Homestead was offered by

      Defendant Michael Ryan Kangas and Defendant Phillip A. Baumann.

   63.There are no cognizable facts which would undermine the Homestead Status

      of the subject property.

   64.There is no cognizable law which would support the confiscation of

      Homestead Property by the Defendants in this matter under the controlling

      facts.

   65.The Defendants subjected the Plaintiffs to conduct, as set forth above and

      throughout this complaint, that occurred under color of law. This conduct

      deprived the Plaintiffs of tights, privileges and/or immunities guaranteed

      under federal law and/or the U.S. Constitution.


       WHEREFORE, The Plaintiffs, by and through undersigned counsel move

       this Court: (a) for a Declaration that the subject property was, and is,

       Homestead Property, as recognized by the Florida Courts, including without

       limitation the Florida Supreme Court; (b) pursuant to Article X, section 4 of

       the Florida Constitution Homestead Property cannot be confiscated by

       judicial whim; (3) the judiciary cannot amend the Constitution of the State

       of Florida; only the citizens of the State of Florida possess that authority.



                   SECOND CAUSE OF ACTION

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            Violation of Civil Rights---42 U.S.C., section 1983
                          Due Process


   66. The Plaintiffs incorporate by reference, as if more fully set forth herein,

      Paragraphs 1-2, Jurisdiction and Venue, Paragraphs 3-4, Parties, Paragraphs

      5-46, Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in the

      Complaint.


   67. As described more fully above, all of the Defendants, while acting

      individually, jointly and in conspiracy, as well as under color of law, and

      within the scope of their employment, deprived the Plaintiffs of their

      Constitutional right to Notice and Opportunity to be Heard as well as their

      right to a fair and impartial trial.

   68. In the manner described more fully above, the Defendants prevented the

      taking of testimony by numerous key witnesses and deliberately ignored

      exculpatory evidence such as the affidavits of Gilbert Singer, Esq., J. Kevin

      Carey, Esq., and Teresa M. Gaffney, Esq. Those affidavits are attached

      hereto as Plaintiffs Composite Exhibit “4”.

   69.The prevention of the admission of exculpatory evidence is a per se violation

      of the due process rights of the Plaintiffs and constitutes a violation of 42

      U.S.C section 1983.




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   70.The prevention of the admission of exculpatory evidence is a per se violation

      of the due process rights of the Plaintiffs in contravention of 42 U.S.C.

      section 1983 and where such obstruction of the due process rights of the

      Plaintiffs has been effectuated by the Defendants, in concert, constitutes

      conspiracy and as such is a violation of 42 U.S.C. section 1985(3).

   71. In the course and scope of the underlying meritless litigation, (i.e., 3762), as

      described more fully above, the Defendants, Defendant Michael Ryan

      Kangas, Defendant Phillip A. Baumann and Defendant Baumann/Kangas

      Estate Law, fabricated evidence and obstructed discovery which would have

      exposed the fabrication of evidence. The Plaintiffs presented evidence, by

      way of court filings, which conclusively demonstrated the presence of

      fabricated evidence, subornation of perjury and perjury to which the

      Defendants colluded. The Plaintiffs were at all times relevant prevented, by

      the Defendants, from utilizing live testimony to demonstrate the legal

      inexactitude of the causes of action asserted against them.

   72. The misconduct, deceit and fabrication of evidence exercised by the

      Defendants, Defendant Michael Ryan Kangas, Defendant Phillip A.

      Baumann and Defendant Baumann/Kangas Estate Law, was the sine qua non

      necessary for the Defendants to visit harm on the Plaintiffs.




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   73.The Defendants deliberate actions taken without any jurisdictional basis and

      in the clear absence of any and all jurisdiction, but under color of law

      resulted in the denial of the constitutional rights of the Plaintiffs, particularly

      with respect to notice and opportunity to be heard as well as the deprivation

      of their collective rights, guaranteed pursuant to the U.S. Constitution, to a

      fair trial.

   74.All of the above was perpetrated by the Defendants in their conspiratorial

      drive to deny the Plaintiffs their rights, particularly their rights under the Due

      Process Clause of the Fourteenth Amendment to the U.S. Constitution and in

      violation of 42 U.S.C., section 1983 and section 1985(3).

   75.As a result of this violation of their constitutional rights as to due process as

      well as to a fair trial, the Plaintiffs have suffered, at the hands of the

      Defendants, individually and collectively, and will continue to suffer,

      injuries, economic damages, emotional distress, loss of valuable property,

      pain, embarrassment and humiliation while the Defendants reap the benefits

      of their ill-gotten gains.

       WHEREFORE, The Plaintiffs seek injunctive relief prohibiting the

       visitation of further harm from the Defendants as to the Plaintiffs, an

       award of attorney fees and costs in favor of the Plaintiffs, directed at the

       Defendants occasioned by the actions of the Defendants as set forth in


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       this Complaint, and for such other and further relief as is deemed just

       and reasonable, derivative from the facts set forth in this complaint and

       allowed under the cited Federal enactment.


                     THIRD CAUSE OF ACTION
            Violation of Civil Rights---42 U.S.C., section 1983
                          Equal Protection

   76. The Plaintiffs incorporate by reference, as if more fully set forth herein,

      Paragraphs 1-2, Jurisdiction and Venue, Paragraphs 3-4, Parties, Paragraphs

      5-46, Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in the

      Complaint.

   77. As described more fully above, the Defendants, all while acting individually,

      jointly, and in conspiracy, as well as under color of law, denied the Plaintiffs

      of equal protection of the law in contravention of their constitutional rights.

   78. Specifically, the Defendants actively participated in, or personally caused,

      the abuse of the Plaintiffs in a manner calculated to coerce submission to the

      nefarious goals of the Defendants and, for the Defendants to unlawfully

      secure money and property belonging to the Plaintiffs. The modus operandi

      described in this complaint appears to be motivated by animus and/or bias,

      which racial bias and/or gender bias constituted a purposeful discrimination.

   79. As a result of this violation, Plaintiff suffered and continues to suffer

      economic loss and emotional distress as set forth in this complaint.

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   80. WHEREFORE, The Plaintiffs seek injunctive relief prohibiting the

      visitation of further harm from the Defendants as to the Plaintiffs, an

      award of attorney fees and costs in favor of the Plaintiffs, directed at the

      Defendants occasioned by the actions of the Defendants as set forth in

      this Complaint, and for such other and further relief as is deemed just

      and reasonable, derivative from the facts set forth in this complaint and

      allowed under the cited Federal enactment.


                    FOURTH CAUSE OF ACTION

            Violation of Civil Rights---42 U.S.C., section 1985(3)
               Conspiracy to Deprive Constitutional Rights

   81. The Plaintiffs incorporate by reference, as if more fully set forth herein,

      Paragraphs 1-2, Jurisdiction and Venue, Paragraphs 3-4, Parties, Paragraphs

      5-46, Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in the

      Complaint.

   82. As set forth in the incorporated paragraphs, each of the Defendants

      conspired, directly or indirectly, for the purpose of depriving the Plaintiffs of

      Equal Protection of the Law.

   83. In so doing, each of the Defendants took actions in furtherance of this

      conspiracy, causing injury to Plaintiffs.




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   84.The unlawful conduct complained of and described in this complaint was

      undertaken with malice, willfulness and reckless indifference to the rights of

      others.

   85.The unlawful conduct described in this complaint was undertaken pursuant to

      the policy and practice of the Defendants in the manner described more fully

      in those paragraphs of this Complaint which paragraphs are indicated as

      incorporated by reference.

       WHEREFORE, The Plaintiffs seek injunctive relief prohibiting the

       visitation of further harm from the Defendants as to the Plaintiffs, an

       award of attorney fees and costs in favor of the Plaintiffs, directed at the

       Defendants occasioned by the actions of the Defendants as set forth in

       this Complaint, and for such other and further relief as is deemed just

       and reasonable, derivative from the facts set forth in this complaint and

       allowed under the cited Federal enactment.

                  FIFTH CAUSE OF ACTION
                      42 U.S.C. section 1983
          Conspiracy to Deprive Plaintiffs of Constitutional Rights.

   86. The Plaintiffs incorporate by reference, as if more fully set forth herein,

      Paragraphs 1-2, Jurisdiction and Venue, Paragraphs 3-4, Parties, Paragraphs

      5-46, Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in the

      Complaint.


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   87.Each of the Paragraphs set forth in this Complaint is incorporated by

      reference as if more fully set forth herein.

   88.At a point in time as yet unknown to the Plaintiffs, the Defendants,

      Defendant Michael Ryan Kangas, Defendant Phillip A. Baumann and

      Defendant Baumann/Kangas Estate Law, reached an agreement amongst

      themselves to formulate a complaint naming the Plaintiffs and alleging

      serious misconduct on their part, including but not limited to abuse of the

      elderly pursuant to Fla.Stat. 415.1111.

   89.By orchestrating this conspiracy, all of the Defendants, intended to deprive

      the Plaintiffs of their constitutional rights, under color of law as described in

      the paragraphs incorporated by reference.

   90.The Defendants knew that their conspiracy was without merit and the

      Defendants, Defendant Michael Ryan Kangas, Defendant Phillip A.

      Baumann and Defendant Baumann/Kangas Estate Law, have admitted to

      same. Indeed, the order issued at their collective behest, awarding nearly

      $400,000.00 in attorney fees to Defendant Michael Ryan Kangas and

      Defendant Phillip A. Baumann to be paid by the Plaintiffs in this action

      acknowledges that the original case, 3762, was “dead on arrival”, i.e.,

      meritless and acting in the clear absence of any and all jurisdiction. The

      Defendants, Defendant Michael Ryan Kangas, Defendant Phillip A.


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      Baumann and Defendant Baumann/Kangas Estate Law, have acknowledged

      that they utilized a bad faith filing to unlawfully confiscate property of the

      Plaintiffs, to deny Plaintiffs of their right to trial, to ‘bury” the exculpatory

      evidence submitted by the Plaintiffs and to then unlawfully award attorney

      fees against Plaintiffs the Defendants, Defendant Michael Ryan Kangas,

      Defendant Phillip A. Baumann and Defendant Baumann/Kangas Estate Law,

      attempted to elevate or legitimize a bad faith filing. (Some might refer to this

      as putting lipstick on a pig; the pig remains a pig).

   91.In this manner all of the Defendants acting in concert with each other and, as

      yet, unknown co-conspirators, have conspired by concerted action to

      accomplish an unlawful purpose by an unlawful means.

   92.In furtherance of the conspiracy each of the co-conspirators committed an

      overt act or subscribed to the commission of an overt act, and each of the co-

      conspirators became a willful participant in joint activity.

   93.As a direct and proximate result of the illicit prior agreement referenced

      above, Plaintiffs rights were violated, and the Plaintiffs have suffered

      substantial financial damages as well as severe emotional distress and

      anguish.




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   94. The illicit activity described in this count, and in the incorporated paragraphs

      was undertaken with malice, willfulness, and reckless indifference to the

      rights of others. See Exhibit “5”, Sworn statement of E. Michael Isaak.

   95.The illicit activity described in this count and in the incorporated paragraphs

      was undertaken pursuant to the policy and practice of the Defendants in the

      manner described more fully in the incorporated paragraphs and was tacitly

      ratified by the Defendants who exercised policy making authority.

   96.WHEREFORE, The Plaintiffs seek injunctive relief prohibiting the

      visitation of further harm from the Defendants as to the Plaintiffs, an

      award of attorney fees and costs in favor of the Plaintiffs, directed at the

      Defendants occasioned by the actions of the Defendants as set forth in

      this Complaint, and for such other and further relief as is deemed just

      and reasonable, derivative from the facts set forth in this complaint and

      allowed under the cited Federal enactment.

                         SIXTH CAUSE OF ACTION

                           42 U.S.C., section 1983
                        Denial of Access to the Courts

   97.The Plaintiffs incorporate by reference, as if more fully set forth herein,

      Paragraphs 1-2, Jurisdiction and Venue; Paragraphs 3-4, Parties; and

      Paragraphs 5-46, Statement of Facts, and Paragraphs 49-57, 59-64, as set

      forth in this Complaint.

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   98. In the manner described more fully herein, each of the Defendants, all while

      acting individually, jointly, and in conspiracy, denied the Plaintiffs access to

      the courts by their wrongful suppression of exculpatory evidence thereby

      denying the Plaintiffs of their ability to defend themselves and of asserting

      constitutional claims against the Defendants.

   99.Other claims to which the Plaintiffs could have had recourse to seek redress

      were diminished by the passage of time, (nearly seven years), and the

      accompanying erosion of evidence necessary to prove such claims.

   100.         The illicit conduct described in this count and in this Complaint was

      undertaken with malice, willfulness, and reckless indifference to the rights of

      others.

   101.         The illicit activity described in this count and in this Complaint was

      undertaken pursuant to the policy and practice of the Defendants as has been

      described in the incorporated paragraphs of this Complaint. The acts and

      actions attributed to the defendants in this matter were done under color of

      law for the purpose of depriving the Plaintiffs of rights, privileges and/or

      immunities guaranteed under the U.S. Constitution.

      WHEREFORE, The Plaintiffs seek injunctive relief prohibiting the

      visitation of further harm from the Defendants as to the Plaintiffs, an

      award of attorney fees and costs in favor of the Plaintiffs, directed at the


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      Defendants occasioned by the actions of the Defendants as set forth in

      this Complaint, and for such other and further relief as is deemed just

      and reasonable, derivative from the facts set forth in this complaint and

      allowed under the cited Federal enactment.



                             State Law Claim
                      SEVENTH CAUSE OF ACTION
                          CIVIL CONSPIRACY
   102.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in this

      Complaint.


   103.      At all times relevant in this complaint, the named Defendants did in

      fact combine, collude and conspire to achieve by concerted action the

      accomplishment of an unlawful purpose or, alternatively, the accomplishment

      of a lawful purpose by unlawful means. At all times relevant the defendants

      conspired to, and in fact accomplished acts, unlawfully, willfully, and

      maliciously that resulted in injury to the Plaintiffs.

   104.      In short, the Defendants did conspire to do an unlawful act, or acts, or

      to do a lawful act or acts by unlawful means.




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   105.      The Defendants in this action perpetrated overt act or acts in the

      pursuance of their conspiracy directed at the Plaintiffs.

   106.       As a result of the acts perpetrated by the Defendants in furtherance of

      the conspiracy financial harm was done to the Plaintiffs.

   107.       The basis of this cause of action, i.e., conspiracy, is the doing of an

      action a cause of action in conspiracy, together with those paragraphs

      included by reference, demonstrates a conspiracy by and among the

      defendants the purpose of which was to do an unlawful act. The unlawful acts

      include, but are not limited to, the use by the Defendants of false orders;

      confiscation of Homestead Property in contravention of the Florida

      Constitution and those cases decided thereunder. These overt act(s) were

      undertaken by or on behalf of the members of the conspiracy in pursuance of

      the goal(s) of the conspiracy and damage to the Plaintiffs was realized as a

      result of the act(s) performed in furtherance of the conspiracy. At all times

      relevant the Defendants possessed actual knowledge or constructive

      knowledge of the actions of their co-conspirators. The co-conspirators, either

      participated in the actions set forth in the incorporated paragraphs or, with

      knowledge of the intent of their fellow co-conspirators, acquiesced in the

      goals of the conspiracy by their willful blindness/indifference.




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      WHEREFORE, The Plaintiffs seek an award of compensatory damages,

      damages occasioned by the intentional infliction of emotional distress,

      attorney fees, punitive damages; damages are in excess of $1,000,000.00;

      and such other and further relief as is deemed just and reasonable and

      derivative from the facts set forth in this complaint.




                       EIGHTH CAUSE OF ACTION
                             Civil RICO
          CIVIL REMEDIES FOR CRIMINAL PRACTICES ACT
   108.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in this

      Complaint.

   109.      Pursuant to Fla. Stat. 772.103 et seq., Fla. Stat. 772.103(2), Fla. Stat.

      772.103(3) it is unlawful for any person through a pattern of criminal activity

      or through the collection of an unlawful debt, to acquire or maintain, directly

      or indirectly, any interest in or control of any enterprise or real property.

      Further, it is unlawful to conspire or endeavor to violate any of the provisions

      of subsection (1), subsection (2), or subsection (3).




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   110.      The Plaintiffs have a cognizable cause of action under Fla.Stat.

      772.103 et seq., and Fla. Stat. 772.104.

   111.      The Plaintiffs have been injured by reason of the Defendants actions

      and conspiracy to commit those actions which resulted in harm to the

      Plaintiffs and severe economic loss.

   112.      The nature of the existence of the relationship between and among the

      Defendants in this matter constitutes an enterprise the purpose of which was

      to divest, confiscate, expropriate and otherwise unlawfully obtain the

      property, both real and personal, as well as cash, belonging to the Plaintiffs.

   113.      The continuing pattern of unlawful behavior on the part of the

      Defendants, was directed, repeatedly, at the named Plaintiffs as well as third

      parties not named in this law suit whose rights and property was similarly

      confiscated, seized, and otherwise unlawfully taken under color of law.

   114.      At all times relevant to this matter, Defendant Michael Ryan Kangas,

      Defendant Phillip A. Baumann, Defendant Baumann/Kangas Estate Law,

      Defendant Jason Gordillo, Defendant Deputy Jonathan Carlton, Defendant

      Corporal Gary Harris and Defendant Chad Chronister in his Official

      Capacity of as Sheriff of HCSO constituted an association under which they

      exercised their authority to violate the rights and confiscate the property of




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      the named Plaintiffs as well as the rights and property of individuals not

      presently named as Plaintiffs in this complaint.

   115.      The conduct complained of as to the Defendants in this complaint

      constitute a pattern of racketeering activity which manifested itself in the

      commission of multiple incidents of racketeering or racketeering conduct that

      have the same or similar intents, results, accomplices, victims or methods of

      commission or that are otherwise interrelated by distinguishing

      characteristics and are not isolated incidents, as set forth in those paragraphs

      of this Complaint which paragraphs are incorporated by reference.


               WHEREFORE, The Plaintiffs seek an award of compensatory

   damages, damages occasioned by the intentional infliction of emotional

   distress, attorney fees, punitive damages; damages are in excess of

   $1,000,000.00; and such other and further relief as is deemed just and

   reasonable and derivative from the facts set forth in this complaint.


                            State Based Cause of Action

                          NINETH CAUSE OF ACTION
                            UNLAWFUL EVICTION

   116.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46




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      of Statement of Facts, and Paragraphs 49-57, 59-64, as set forth in this

      Complaint.

   117.      The subject Homestead Property was, at all times relevant, Homestead

      Property, subject to the protections afforded Homestead Property as set forth

      at Article X, section 4 of the Florida Constitution. The Defendants at all

      times relevant conspired to confiscate the property and did so by way of an

      unlawful order issued by the Court in 3762.

   118.      The Homestead Property is located in Hillsborough County, Florida

      and more fully described as:

       ALL of Lot 30 and the South 31 Feed of Lot 29 of
   KENTEL PARK SUBDIVISION, as per the recordation
   In Plat Book 12 on Page 665 of the Public Records of
   Hillsborough County, Florida.
   The address is 119 South Clark Avenue,
   Tampa, Florida 33609

   119.      On or about 4 April 2014, the Defendants conspired to utilize an order

      of the Probate Court which order was false and was known by the Defendants

      to be false.

   120.      The false order was utilized by the Defendants to empower third

      parties to evict the Plaintiffs, the family in residence at the Homestead

      Property. The Plaintiffs were allowed 15 minutes to depart.




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   121.      At the time of the unlawful eviction the property was classified as

      Homestead Property, The Property was classified as such from its

      construction in approximately 1971 and is so classified presently.

   122.      Neither the Defendants nor their agents at any time held any right,

      title or interest in the subject Homestead Property. The Homestead Property

      was not before the court in that the court lacked in rem jurisdiction over the

      Homestead Property.

   123.      There is no caselaw extant in the State of Florida which would permit

      the taking of the subject Homestead Property under these facts.

   124.      The Court stated, in court and on the record in the presence of

      representatives of the media, that he caused the Homestead Property to be

      confiscated because the present Plaintiff Teresa Gaffney had violated his

      discovery order. In short, the Court confiscated the Homestead Property of

      one of the present Plaintiffs as a sanction against a second present Plaintiff.

      The Florida Constitution does not permit the taking of Homestead Property

      as a sanction. There were no orders issued by the Judge Barbas relative to

      Plaintiff Teresa Gaffney as to discovery.



   125.      Upon information and belief, the Plaintiffs avers that the motivation

      of the Defendants was to cover up the theft of an estimated $1,000,000.00 in


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      assets from the estate of John J. Gaffney which was taken with the help of

      Defendant Phillip A. Baumann and Defendant Baumann/Kangas and covered

      up by Defendant Kangas.

   126.      In furtherance of the concerted action of expropriation of Homestead

      Property the Defendants, as set forth in Paragraphs 5-46, 49-57, 59-64

      conspired in the expropriation of Homestead property.

   127.      It is established law, Constitutionally and case made, that Homestead

      Property cannot be seized and/or levied against except under three

      Constitutional exceptions to the Homestead Exemption. None of the three

      exceptions to the Homestead exemption are applicable in this matter. The

      Defendants having no Constitutional Authority nor statutory authority to take

      the Homestead Property.

   128.      Testimony offered by a witness in the lower proceeding, i.e., 3762,

      unequivocally stated that the subject real property was Homestead Property.

      This statement was unchallenged by Defendant Michael Ryan Kangas and

      Defendant Phillip A. Baumann. No testimony was offered by Defendant

      Michael Ryan Kangas and Defendant Phillip A. Baumann in opposition to

      the referenced testimony. Defendant Michael Ryan Kangas, Defendant

      Phillip A. Baumann and Defendant Baumann/Kangas Estate Law cited this

      evidentiary submission in its pleadings without contrary argument.


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   129.        A Notice of Homestead was filed and served as to the subject

      property by the holder/declarer of Homestead Status of the property

      confiscated. See Exhibit “3”.

   130.        No response or challenge to the Declaration of Homestead was

      offered by Defendant Michael Ryan Kangas, Defendant Phillip A. Baumann

      and Defendant Baumann/Kangas Estate Law.

   131.        There are no cognizable facts which would undermine the Homestead

      Status of the subject property.

   132.        There is no cognizable law which would support the confiscation of

      Homestead Property by the Defendants in this matter under the controlling

      facts.


    WHEREFORE, The Plaintiffs seek an award of compensatory damages,

    damages occasioned by the intentional infliction of emotional distress,

    attorney fees, punitive damages; damages are in excess of $1,000,000.00;

    and such other and further relief as is deemed just and reasonable and

    derivative from the facts set forth herein.


                               State Based Cause of Action

                           TENTH CAUSE OF ACTION
                     VIOLATION OF FLORIDA STATUTE 817.535



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   133.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts and Paragraphs 49-57, 59-64, 119-132, as set forth in

      this Complaint.

   134.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, caused/allowed

      the imposition of a lis pendens on the Homestead Property, without the

      posting of a bond. The Defendants proceeded in contravention of Article I,

      section 9 of the Florida Constitution and Article X, section 4 of the Florida

      Constitution.

   135.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, notwithstanding

      their complete lack of any semblance of jurisdictional authority, allowed the

      imposition of a lis pendens on Homestead Property in further contravention

      of Fla.Stat. 817.535. et seq., and Fla. Stat. 843.0855.

   136.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, caused to be filed

      in the public records a lis pendens, a false document as defined in Fla.Stat.

      817.535.




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   137.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, each meet the

      statutory requirements as to “Filer”, Fla.Stat. 817.535(1)(b).

   138.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, meet the statutory

      requirement as to the filing of an “Instrument”, (Fla. Stat. 817.535(1)(c).

   139.      The actions taken by the Defendants, Defendant Michael Ryan

      Kangas, Defendant Phillip A. Baumann and Defendant Baumann/Kangas

      Estate Law, meet the statutory requirement as

      to “Official record”;

      The Plaintiff, Teresa M. Gaffney, qualifies as “Public Officer or employee”,

      Fla.Stat. 817.535(1)(e).

   140.      The materially false lis pendens has remained a filed instrument filed

      in furtherance of the conspiracy of the Defendants, Defendant Michael Ryan

      Kangas, Defendant Phillip A. Baumann and Defendant Baumann/Kangas

      Estate Law, to confiscate the Homestead Property of the Plaintiffs, for

      approximately seven years. The sole purpose and intent of the filing of the

      materially false lis pendens was to defraud and/or harass the Plaintiffs. Each

      document filed constitutes a violation. Each day in which the false lis

      pendens is filed constitutes a further violation of the provisions of Fla.Stat.


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      817.535 and as such entitle the Plaintiffs to an award of damages, an award

      of attorney fees, per diem, an award of costs and, pursuant to Fla.Stat.

      817.535 (8)(b)(2) an award of punitive damages, subject to the criteria set

      forth in Fla.Stat. 768.72 as well as those further sanctions contained in

      Fla.Stat. 817.535 and Fla.Stat. 843.0855.

      WHEREFORE, The Plaintiffs pray for and seek recovery of:

      compensatory damages, statutory damages, attorney fees and costs as

      well as punitive damages; damages are in excess of $1,000,000.00; as

      provided in the cited statute and for such other and further relief as is

      set forth in Fla.Stat. 817.535 and Fla.Stat. 843.0855 and foer such other

      and further relief as this Court deems just and proper.


                           State Based Cause of Action
                         ELEVENTH CAUSE OF ACTION
                        THEFT OF PERSONAL PROPERTY

   141.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts and Paragraphs 49-57, 59-64, 119-132, as set forth in

      this Complaint.

   142.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, caused the

      unlawful eviction of the family, i.e., The Plaintiffs, from their Homestead

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      Property and thereby rendered the family homeless in contravention of

      Article X, section 4 of the Florida Constitution.

   143.      As a result of the unlawful eviction of the Plaintiffs, the Plaintiffs and

      family members lost a substantial amount of personal property including, but

      not limited to, two automobiles, military equipment issued to one of the

      family members, firearm(s) and ammunition, and other personal property

      valued well in excess of $100,000.00 and the death of three family pets.

   144.      In the course of the theft occasioned by the Defendants, Defendant

      Michael Ryan Kangas, Defendant Phillip A. Baumann and Defendant

      Baumann/Kangas Estate Law, additional damage was caused as to real and/or

      personal property of another in excess of $1,000.00.

   145.      During the course of the theft occasioned by the actions of the

      Defendants two (2) fire extinguishers, installed for the purpose of fire

      prevention and control were unlawfully taken.

   146.      WHEREFORE, The Plaintiffs seek an award of compensatory

      damages, damages are in excess of $1,000,000.00, damages occasioned by

      the perpetration of fraud by the Defendants, compensation for the

      intentional infliction of emotional distress, upon the Plaintiffs by the

      acts/actions of the Defendants, attorney fees, and such other and further




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      relief as is deemed just and reasonable and derivative from the facts set

      forth herein.


                           State Based Cause of Action
                         TWELFTH CAUSE OF ACTION
                                 DEFAMATION

   147.              The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts, Paragraphs 49-57, 59-64, 119-132, 134-140, as set

      forth in this Complaint.

   148.        Throughout the nearly seven years of this unfounded and patently

      unlawful litigation the Defendants, Defendant Michael Ryan Kangas,

      Defendant Phillip A. Baumann and Defendant Baumann/Kangas Estate Law,

      engaged in publishing materially false court filings which the Defendants

      knew, or in the reasonable exercise of their oath, would learn were materially

      false.

   149.        The publication and adoption of the materially false allegations as to

      the Plaintiffs was, and is, harmful to the reputation of the Plaintiffs.

      Specifically, the false narrative exported by the Defendants, Defendant

      Michael Ryan Kangas, Defendant Phillip A. Baumann and Defendant

      Baumann/Kangas Estate Law, disparaged the honesty and integrity of the

      Plaintiffs. The Defendants, Defendant Michael Ryan Kangas, Defendant


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      Phillip A. Baumann and Defendant Baumann/Kangas Estate Law, have

      implied and/or stated that the Plaintiffs exploited John J. Gaffney. The

      documentation, including affidavits from third parties filed with the Court,

      established that the Plaintiffs financially helped John J. Gaffney. See Exhibit

      “4”.

   150.      The allegations as to the character of the Plaintiffs is implicit, if not

      actually stated in the filings of the Defendants, Defendant Michael Ryan

      Kangas, Defendant Phillip A. Baumann and Defendant Baumann/Kangas

      Estate Law.

   151.      The Defendants, Defendant Phillip A. Baumann and Defendant

      Baumann/Kangas Estate Law, allowed the materially false statements as to

      the Plaintiffs to be published knowing that such statements were materially

      false and would have a pernicious effect upon the character of the Plaintiffs.

   152.      As a result of the defamatory conduct of the Defendants, Defendant

      Michael Ryan Kangas, Defendant Phillip A. Baumann and Defendant

      Baumann/Kangas Estate Law, as to the Plaintiffs the Plaintiffs have suffered

      harm, economic loss, loss of professional standing and has been irreparably

      compromised in the furtherance of their professional goals.

   153.      WHEREFORE, The Plaintiffs seek an award of compensatory

      damages, damages are in excess of $1,000,000.00, damages occasioned by


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      the perpetration of fraud by the Defendants, compensation for the

      intentional infliction of emotional distress, upon the Plaintiffs by the

      acts/actions of the Defendants, attorney fees, and such other and further

      relief as is deemed just and reasonable and derivative from the facts set

      forth herein.

                         THIRTEENTH CAUSE OF ACTION
                           NEGLIGENCE AS TO HCSO


   154.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts, Paragraphs 49-57, 59-64, 119-132, 134-140, as set

      forth in this Complaint.

   155.      At all times relevant the Defendant, Chad Chronister, in his official

      capacity as Sheriff of Hillsborough County, (hereinafter referenced as,

      “Chronister/HCSO”), and HCSO owed a duty to the citizens of Hillsborough

      County to perform his tasks as Sheriff with regard to due diligence as

      required in carrying out the laws, orders of the court and other related duties

      attendant upon his position as Sheriff.

   156.      The Plaintiffs were the intended beneficiaries of the duty of faithful

      performance required of the Sheriff as to the citizens of Hillsborough County.




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   157.      The Plaintiffs reasonably expected that the Sheriff would, in his

      official capacity, ensure that the performance of law enforcement and law

      functions would be carried out with congruence as to the laws and procedures

      required by the legislature in its enactment of Florida Statutes and the

      Constitution of the State of Florida created for and on behalf of the people of

      the State of Florida.

   158.      In all respects Defendant Chronister/HCSO failed to perform

      significant duties expected of his office and such failure impacted in a

      negative fashion on the Plaintiffs.

   159.      Defendant Chronister/HCSO failed: (a) to create an environment in

      which his legal staff as well as his law enforcement staff were knowledgeable

      as to specific duties expected of them; (b) in his sworn testimony, Defendant

      Jason Gardillo indicated that he was charged with assessing the correctness

      of the document which he received which purportedly established a legal

      basis upon which HCSO personnel could evict a family from their

      Homestead Property; (b) Defendant Jason Gardillo indicated that he

      possessed little, if any, knowledge as to the mechanics of Article X, section 4

      of the Florida Constitution; (c) Defendant Gardillo indicated that he was

      unaware of the existence of any training materials relative to that function;

      (d) Defendant Gardillo indicated that he failed to apply Federal Law to the


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      case at hand and indicated a lack of knowledge as to the automatic stay

      provision of the Federal Bankruptcy Code; ( e) Defendant Gardillo could not

      distinguish between an order on a Motion to Dismiss and a Final Judgment;

      (f) Defendant Gardillo was unaware as to whether or not there existed an

      underlying money judgment as to the homestead property.

   160.      The failure of Defendant Chronister/HCSO to properly train his staff

      is evident in sworn testimony of his Deputies, Defendant Deputy Jonathan

      Carlton and Defendant Corporal Gary Harris, who indicated an awareness of

      the filing of a Bankruptcy Petition and the interposition of the Automatic

      Stay but elected to ignore same.

   161.      During the progress of the unlawful eviction the Deputies, Defendant

      Deputy Jonathan Carlton and Defendant Corporal Gary Harris, initially

      refused to allow the family to retrieve its pets. One of the Deputies confirmed

      this in his sworn testimony and stated that the pets would be compelled to

      remain in the house, which is to say, die a slow and painful death.

   162.      This behavior on the part of Defendant Gardillo and the Deputies,

      Defendant Deputy Jonathan Carlton and Defendant Corporal Gary Harris, is

      indicative of their lack of training. This lack of training, with all of its evil

      consequences, is a function of the breach of duty on the part of Defendant

      Chronister/HCSO.


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   163.      The failure to properly recruit and/or train Defendant Gardillo,

      Defendant Deputy Jonathan Carlton and Defendant Corporal Gary Harris, is

      a breach of the duty owed by Defendant Chronister/HCSO to the Plaintiffs,

      specifically, and to the citizens of the State of Florida, generally.

   164.      As a result of the negligence of Defendant Chronister/HCSO, and the

      breach of the duty owed by Defendant Chronister/HCSO as to the Plaintiffs,

      the Plaintiffs have been damaged.

      WHEREFORE, The Plaintiffs seek an award of compensatory damages,

      damages are in excess of $1,000,000.00, damages occasioned by the

      negligence of Chronister/HCSO and, further, the Plaintiffs seek

      compensation for the negligent acts perpetrated upon the Plaintiffs by

      the acts/actions of the Defendant Chronister/HCSO together with

      attorney fees, costs and such other and further relief as is deemed just

      and reasonable and derivative from the facts set forth herein.



                      FOURTEENTH CAUSE OF ACTION
                     NEGLIGENCE OF GARDILLO/HCSO,
                  CORPORAL HARRIS AND DEPUTY CARLTON.


   165.      The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-




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      37, 38-46 of Statement of Facts, Paragraphs 49-57, 59-64, 119-132, 134-140,

      155-163, as set forth in this Complaint.

   166.      At all times relevant the Defendants, Defendant Jason Gardillo,

      Defendant Deputy Jonathan Carlton and Defendant Corporal Gary Harris,

      individually, and in their official capacity as an agent, servant and/or

      employee of HCSO, owed a duty to the citizens of Hillsborough County to

      perform their tasks as an agent/servant/employee of HCSO with due

      diligence as required in carrying out the laws, orders of the court and other

      related duties attendant upon his position.

   167.      The Plaintiffs were the intended beneficiaries of the duty of faithful

      performance required of Defendant Gardillo/HCSO, Defendant Deputy

      Jonathan Carlton and Defendant Corporal Gary Harris, as to the citizens of

      Hillsborough County.

   168.      The Plaintiffs reasonably expected that Defendant Gardillo/HCSO,

      Defendant Deputy Jonathan Carlton and Defendant Corporal Gary Harris,

      would, in their individual and/or official capacity, ensure that the

      performance of law enforcement functions and law functions would be

      carried out in conformity with the laws and procedures required by the

      legislature in its enactment of Florida Statutes and the Constitution of the




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      State of Florida created for and on behalf of the people of the State of

      Florida.

   169.      In all respects Defendant Gardillo/HCSO, Defendant Deputy Jonathan

      Carlton and Defendant Corporal Gary Harris, failed to perform significant

      duties expected of their office and such failure impacted in a negative fashion

      on the Plaintiffs.

   170.      Defendant Gardillo/HCSO failed: (a) to familiarize himself with the

      laws and procedural requirements expected of him in the performance of his

      duties; (b) in his sworn testimony, Defendant Jason Gardillo, indicated that

      he was charged with assessing the correctness of the document which he

      received which purportedly established a legal basis upon which HCSO

      personnel could evict a family from their Homestead Property; (b) Defendant

      Jason Gardillo indicated that he possessed little, if any, knowledge as to the

      mechanics of Article X, section 4 of the Florida Constitution; (c) Defendant

      Gardillo indicated that he was unaware of the existence of any training

      materials relative to that function; (d) Defendant Gardillo indicated that he

      failed to apply Federal Law to the case at hand and indicated a lack of

      knowledge as to the automatic stay provision of the Federal Bankruptcy

      Code; ( e) Defendant Gardillo could not distinguish between an order on a

      Motion to Dismiss and a final judgment; (f) Defendant Gardillo was unaware


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      as to whether or not there existed an underlying money judgment as to the

      homestead property and, if such money judgment existed, whether it could

      operate to the detriment of homestead property.

   171.       Defendant Gardillo, as a member of the HCSO, had a duty to acquire

      the necessary knowledge required for the discharge of his duties.

   172.       Defendant Gardillo breached this duty as expressed in his sworn

      testimony.

   173.       The failure of Defendant Gardillo/HCSO, to properly acquire the

      knowledge necessary to carry out his duties is evident in sworn testimony of

      Defendant Gardillo who indicated an awareness of the filing of a Bankruptcy

      Petition and the interposition of the Automatic Stay but elected to ignore

      same.

   174.       During the progress of the unlawful eviction the Deputies, Defendant

      Deputy Jonathan Carlton and Defendant Corporal Gary Harris, on the scene

      initially refused to allow the family to retrieve its pets. One of the Deputies

      confirmed this in his sworn testimony and stated that the pets would be

      compelled to remain in the house, which is to say, die a slow and painful

      death. Defendant Deputy Jonathan Carlton and Defendant Corporal Gary

      Harris, refused to speak to the Plaintiffs’ attorney but spoke with Defendant

      Phillip A. Baumann and Defendant Michael Ryan Kangas.


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   175.      This behavior on the part of Defendant Gardillo and the Deputies,

      Defendant Deputy Jonathan Carlton and Defendant Corporal Gary Harris, is

      indicative of a profound lack of training. This lack of training, with all of its

      evil consequences, is a function of the breach of duty on the part of

      Defendant Gardillo/HCSO, Defendant Deputy Jonathan Carlton and

      Defendant Corporal Gary Harris.

   176.      Defendant Gardillo, an attorney licensed to practice law in the state of

      Florida. Defendant Gardillo’s lack of knowledge as to the significant task

      assigned to him, resulted in the unlawful taking of homestead property which

      is a breach of the duty owed by Defendant Gardillo/HCSO to the Plaintiffs,

      specifically, and to the citizens of the State of Florida, generally.

   177.      As a result of the negligence of Defendant Gardillo/HCSO, Defendant

      Deputy Jonathan Carlton and Defendant Corporal Gary Harris, and the

      breach of the duty owed by Defendant Gardillo/HCSO, Defendant Deputy

      Jonathan Carlton and Defendant Corporal Gary Harris, to the Plaintiffs, the

      Plaintiffs have been damaged.

      WHEREFORE, The Plaintiffs seek an award of compensatory damages,

      damages are in excess of $1,000,000.00, damages occasioned by the

      negligence of Defendant Gardillo/HCSO, Defendant Deputy Jonathan

      Carlton and Defendant Corporal Gary Harris, and, further, the


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      Plaintiffs seek compensation for the negligent acts perpetrated upon the

      Plaintiffs by the acts/actions of the Defendant Gardillo/HCSO,

      Defendant Deputy Jonathan Carlton and Defendant Corporal Gary

      Harris, together with attorney fees, costs and such other and further

      relief as is deemed just and reasonable and derivative from the facts set

      forth herein.

                          FIFTEENTH CAUSE OF ACTION
                      FRAUD ON THE PART OF PHILLIP A BAUMANN

                 The Plaintiffs incorporate by reference, as if more fully set forth

      herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46

      of Statement of Facts, and Paragraphs 49-57, 59-64, 119-132, 134-140, as set

      forth in this Complaint.

   178.      The Defendants, Defendant Michael Ryan Kangas, Defendant Phillip

      A. Baumann and Defendant Baumann/Kangas Estate Law, fraudulently

      caused/allowed the imposition of a lis pendens on the Homestead Property,

      without the posting of a bond. In contravention of Fla.Stat. 817.535. The

      Defendants proceeded in the clear absence of subject matter jurisdiction over

      property not within their grant of jurisdiction and in contravention of Article

      I, section 9 of the Florida Constitution and Article X, section 4 of the Florida

      Constitution.




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   179.      The Defendants, notwithstanding their complete lack of any

      semblance of jurisdictional authority or statutory authority, allowed the

      imposition of a lis pendens on Homestead Property in further contravention

      of Fla.Stat. 817.535. et seq., and Fla. Stat. 843.0855.

   180.      The Defendants caused to be filed in the public records a lis pendens,

      a false document as defined in Fla.Stat. 817.535.

   181.      The Defendants meet the statutory requirements as to “Filer”, Fla.Stat.

      817.535(1)(b).

   182.      The Defendants meet the statutory requirement as to the filing of an

      “Instrument”, (Fla. Stat. 817.535(1)(c).

   183.      The actions taken by the Defendants meet the statutory requirement as

      to “Official record”;

      The Plaintiffs qualify as “Public Officer or employee”, Fla.Stat.

      817.535(1)(e).

   184.      The materially false lis pendens has remained a filed instrument filed

      fraudulently in furtherance of the conspiracy of the Defendants to confiscate

      the Homestead Property of the Plaintiffs. This fraudulently filed instrument

      has been so filed for approximately seven (7) years. The sole purpose and

      intent of the filing of the materially false and fraudulent lis pendens was to

      defraud and/or harass the Plaintiffs. Each document filed constitutes a


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      violation. Each day constitutes a further violation of the provisions of

      Fla.Stat. 817.535 and as such entitle the Plaintiffs to an award of damages, an

      award of attorney fees, per diem, an award of costs and, pursuant to Fla.Stat.

      817.535 (8)(b)(2) an award of punitive damages, subject to the criteria set

      forth in Fla.Stat. 768.72 as well as those further sanctions contained in

      Fla.Stat. 817.535 and Fla.Stat. 843.0855.

      WHEREFORE, The Plaintiffs pray for, and seek. recovery of:

      compensatory damages, statutory damages, attorney fees and costs as

      well as punitive damages; the damages requested are in excess of

      $1,000,000.00; as provided in the cited statute and for such other and

      further relief as is set forth in Fla.Stat. 817.535 and Fla.Stat. 843.0855

      and for such other and further relief as this Court deems just and

      proper.


                         State Based Cause of Action
                      SIXTEENTH CAUSE OF ACTION
                    FRAUD AS TO MICHAEL KANGAS


   185.                  The Plaintiffs incorporate by reference, as if more fully set

      forth herein, Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs

      5-46 of Statement of Facts, and Paragraphs 49-57, 59-64, 119-132, 134-140,

      178-184, as set forth in this Complaint.


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   186.      The Defendant, Defendant Michael Kangas, fraudulently

      caused/allowed the imposition of a lis pendens on the Homestead Property,

      without the posting of a bond. In contravention of Fla.Stat. 817.535. The

      Defendants proceeded in the clear absence of subject matter jurisdiction over

      property not within their grant of jurisdiction and in contravention of Article

      I, section 9 of the Florida Constitution and Article X, section 4 of the Florida

      Constitution.

   187.      The Defendants, notwithstanding their complete lack of any

      semblance of jurisdictional authority or statutory authority, allowed the

      imposition of a lis pendens on Homestead Property in further contravention

      of Fla.Stat. 817.535. et seq., and Fla. Stat. 843.0855.

   188.      The Defendants caused to be filed in the public records a lis pendens,

      a false document as defined in Fla.Stat. 817.535.

   189.      The Defendants meet the statutory requirements as to “Filer”, Fla.Stat.

      817.535(1)(b).

   190.      The Defendants meet the statutory requirement as to the filing of an

      “Instrument”, (Fla. Stat. 817.535(1)(c).

   191.      The actions taken by the Defendants meet the statutory requirement as

      to “Official record”;




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      The Plaintiffs qualify as “Public Officer or employee”, Fla.Stat.

      817.535(1)(e).

   192.      The materially false lis pendens has remained a filed instrument filed

      fraudulently in furtherance of the conspiracy of the Defendants to confiscate

      the Homestead Property of the Plaintiffs. This fraudulently filed instrument

      has been so filed for approximately seven (7) years. The sole purpose and

      intent of the filing of the materially false and fraudulent lis pendens was to

      defraud and/or harass the Plaintiffs. Each day constitutes a further violation

      of the provisions of Fla.Stat. 817.535 and as such entitle the Plaintiffs to an

      award of damages, per diem, an award of attorney fees, per diem, an award of

      costs and, pursuant to Fla.Stat. 817.535 (8)(b)(2) an award of punitive

      damages, subject to the criteria set forth in Fla.Stat. 768.72 as well as those

      further sanctions contained in Fla.Stat. 817.535 and Fla.Stat. 843.0855.

      WHEREFORE, The Plaintiffs pray for, and seek. recovery of:

      compensatory damages, statutory damages, attorney fees and costs as

      well as punitive damages; the damages requested are in excess of

      $1,000,000.00; as provided in the cited statute and for such other and

      further relief as is set forth in Fla.Stat. 817.535 and Fla.Stat. 843.0855

      and for such other and further relief as this Court deems just and

      proper.


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               SEVENTEENTH COUNT CAUSE OF ACTION
             FRAUD AS TO BAUMANN/KANGAS ESTATE LAW


 The Plaintiffs incorporate by reference as if more fully set forth herein,

 Paragraphs 1-2, Jurisdiction; Paragraphs 3-4, Parties; Paragraphs 5-46 of the

 Statement of Facts, and Paragraphs 49-57, 59-64, 119-132, 134-140, 178-184,

 186-192, as set forth in the Complaint.

   193.      The Defendants in filing documents throughout the, approximately,

      last seven years of this case have caused the circulation of a materially false

      narrative relative to the Plaintiffs.

   194.      The Defendants knew, or should have known, that their court filings

      contained specific statements that were untrue.

   195.      The false statements concerned material facts relative to the

      underlying case, i.e., 3762 and as to the Plaintiffs, herein.

   196.      As a result of the false and fraudulent statements of material facts the

      Plaintiffs suffered injuries both financial and otherwise. The injuries suffered

      by the Plaintiffs as a result of the publication of false and fraudulent

      statements by the Defendants is ongoing.

   197.      The materially false and fraudulent statements have been received by

      the unsuspecting public with justifiable confidence.




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   198.      The intent of the Defendants is to dupe unsuspecting individuals and

      encourage such individuals, as a result of the false and fraudulent

      representations made by the Defendants to purchase the confiscated

      Homestead property of the Plaintiffs.

    WHEREFORE, The Plaintiffs seek an award of compensatory damages,

    damages are in excess of $1,000,000.00, damages occasioned by the

    perpetration of fraud by the Defendants, compensation for the intentional

    infliction of emotional distress, upon the Plaintiffs by the acts/actions of

    the Defendants, attorney fees, and such other and further relief as is

    deemed just and reasonable and derivative from the facts set forth herein.




      Submitted this 24th day of October, 2021, for and on behalf of the Plaintiffs.

      Note: Attorney Sussman has a limited role due to severe health issues. The

      electronic filing was done by the Office of Dov Sussman, P.A.

      by:


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